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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA,                                  Criminal No. 20-578 (JMV)

 - vs –

 JEFFREY ANDREWS,                                     AMENDED SCHEDULING ORDER
 CHAD BEENE,
 ADAM BROSIUS, and
 ROBERT SCHNEIDERMAN,

                         Defendants.


          THIS MATTER having come before the Court upon the joint application of Defendants

Jeffrey Andrews (Michael J. Engle, Esq., appearing), Chad Beene (Michael Wynne, Esq.,

appearing), Adam Brosius (Mark A. Berman, Esq., appearing), and Robert Schneiderman (John

A. Lord, Esq., appearing), for entry of an order extending the date for filing pretrial motions, and

the Government (Jason S. Gould, Assistant U.S. Attorney, appearing) not having opposed the

application, and for good cause shown,

          IT IS on this 11th day of May, 2021, ORDERED as follows:

          1)     Defense Pretrial Motions shall be filed on or before August 13, 2021;

          2)     Government Opposition shall be filed on or before September 17, 2021;

          3)     Defense Replies shall be filed on or before October 1, 2021;

          4)     Oral argument on the motions will be held on November 2, 2021, at 10:30 a.m.




                                              Honorable John Michael Vazquez
                                              UNITED STATES DISTRICT JUDGE
